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                                                   U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York



                                                      May 17, 2023

VIA ECF
The Honorable John P. Cronan
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007
       Re:     Reclaim the Records et al., v. U.S. Dep't of State, 23-cv-01650 (JPC)
Dear Judge Cronan:

        This Office represents the U.S. Department of State (the “Government”) in the above-
referenced action brought under the Freedom of Information Act (“FOIA”). We write jointly with
Plaintiffs Reclaim the Records and Alec Ferreti (“Plaintiffs”) to provide the Court with a status
update pursuant to the Court’s April 20, 2023 Order. See ECF No. 10.

       The parties are still in the process of discussing the scope of Plaintiffs’ requested search.
Because this is a FOIA case, we anticipate that this matter will either be resolved consensually, or
through motions for summary judgment on any issues the parties are unable to resolve.

        We therefore respectfully request that: (1) the parties be given an additional thirty days to
work together to resolve this matter without the Court’s intervention; and (2) the parties be required
to provide the Court with a written status update on or before June 19, 2023. If the parties agree
upon the scope of the requested search, we will negotiate a production schedule and advise the
Court of same. If we reach an impasse as to the scope of the requested search, we will propose a
briefing schedule for motions for summary judgment.

       We thank the Court for its consideration of this letter.


                                               Respectfully,


   BELDOCK LEVINE &                            DAMIAN WILLIAMS
   HOFFMAN LLP                                 United States Attorney for the
   Attorney for Plaintiffs                     Southern District of New York



   By: /s/ Jeff Kinkle                         By:  /s/ Rebecca L. Salk            .
   Jeff Kinkle                                 REBECCA L. SALK
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